                Case 3:18-cv-05620-RJB Document 58 Filed 02/19/19 Page 1 of 2



 1

 2

 3

 4
                             UNITED STATES DISTRICT COURT
 5                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 6

 7
        MELISSA BELGAU, DONNA BYBEE,                CIVIL JUDGMENT
 8      RICHARD OSTRANDER, KATHRINE
        NEWMAN, MIRIAN TORRES, GARY                 CASE NO. 3:18-cv-05620-RJB
 9      HONC, and MICHAEL STONE,

10                             Plaintiffs,

11                  v.

12      JAY INSLEE, in his official capacity as
        governor of the State of Washington,
13      DAVID SCHUMACHER, in his official
        capacity as Director of the Washington
14      Office of Financial Management, JOHN
        WEISMAN, in his official capacity as
15      Director of the Washington Department of
        Health, CHERYL STRANGE, in her
16      official capacity as Director of the
        Washington Department of Social and
17      Health Services, ROGER MILLAR, in his
        official capacity as Director of the
18      Washington Department of Transportation,
        JOEL SACKS, in his official capacity as
19      Director of the Washington Department of
        Labor and Industries, and WASHINGTON
20      FEDERATION OF STATE EMPLOYEES
        (AFSCME, COUNSEL 28) a labor
21      corporation,

22                             Defendants.

23

24

     Judgment
                Case 3:18-cv-05620-RJB Document 58 Filed 02/19/19 Page 2 of 2



 1 ____    Jury Verdict. This action came to consideration before the Court for a trial by jury. The
           issues have been tried and the jury has rendered its verdict.
 2
     XX    Decision by Court. This action came to consideration before the Court. The issues have
 3
           been considered and a decision has been rendered.
 4
           THE COURT HAS ORDERED THAT
 5
                    The State Defendants’ Motion for Summary Judgment (Dkt. 47) IS GRANTED;
 6
                    The Union’s Motion for Summary Judgment (Dkt. 46) IS GRANTED; and
 7
                    The Plaintiffs’ Cross-Motion for Summary Judgment (Dkt. 48) IS DENIED;
 8
                    This case IS CLOSED.
 9

10
           Dated this 19th day of February, 2019.
11
                                                    William M. McCool
12                                                  Clerk of Court

13
                                                    s/Tyler Campbell     l
14                                                  Tyler Campbell, Deputy Clerk

15

16

17

18

19

20

21

22

23

24

     Judgment
